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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

Fred L. Nance Jr
                                Plaintiff,
v.                                                    Case No.: 1:22−cv−03861
                                                      Honorable Jorge L. Alonso
United States, et al.
                                Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, October 14, 2022:


       MINUTE entry before the Honorable Jorge L. Alonso: Plaintiff's response to
Defendant's motion to dismiss or alternatively for summary judgment [6] shall be filed by
11/14/22; Defendant's reply shall be filed by 11/28/22. Notice mailed by Judge's staff (lf, )




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